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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




 DRAFTKINGS INC.,

                                 Plaintiff,
                       v.
                                                      Civil Action No. 1:24-cv-10299
 MICHAEL HERMALYN,

                                 Defendant.


                                   VERIFIED COMPLAINT

       Plaintiff DraftKings Inc. (“DraftKings” or the “Company”), by its undersigned attorneys,

hereby files this Verified Complaint against Defendant Michael Hermalyn (“Hermalyn”), and in

support thereof, alleges as follows:

                                        INTRODUCTION

       1.      Hermalyn, a senior executive compensated millions of dollars by DraftKings to

oversee VIP customer acquisition and retention, hatched a secret plan over the past year to steal

and use confidential information, solicit customers and employees and join a key competitor,

Fanatics, Inc. (“Fanatics”), in brazen violation of his agreements with and duties to

DraftKings. Hermalyn’s scheme appears to have started as early as the February 2023 Super Bowl,

when Hermalyn clandestinely met with Fanatics’ CEO and leadership team to discuss

employment. He took further disloyal steps over the summer, pretending he was “getting out of

the industry” and improperly encouraging his subordinates to meet with Fanatics’ CEO about

employment there, while at the same time urging DraftKings to pay himself and his subordinates

large retention payments, valued in the millions of dollars. Hermalyn’s disloyal scheme




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culminated late last week on the eve of this year’s Super Bowl. While he falsely claimed to be

mourning the loss of a friend from Pennsylvania, Hermalyn instead secretly traveled to Fanatics

offices in Los Angeles, negotiated an employment agreement with Fanatics, downloaded

DraftKings’ confidential business plans for the Super Bowl while sitting in Fanatics’ offices, and

fraudulently attempted to establish California residency during his 48-hour visit so he could resign

from DraftKings and try to invalidate his non-compete agreements in California state court only a

few days later.

       2.         DraftKings is a leader in the fiercely competitive digital sports entertainment and

gaming industry, best known for fantasy sports, mobile sports betting, and iGaming products.

Before his sudden resignation late last week, Hermalyn was a senior DraftKings executive holding

a position of trust and with access to some of the company’s most valuable and sensitive trade

secrets and other highly confidential information and business strategies.

       3.         Hermalyn led DraftKings’ VIP team, responsible for acquiring and retaining

DraftKings’ most loyal and high value potential players. In the fantasy sports, mobile sports

betting, and iGaming industry, businesses can sink or swim on the strength of their customer

relationships. DraftKings is one of only a few prominent companies competing for extremely

scarce resources, especially the patronage of the relatively small number of high-net worth

customers who wager significant sums on sporting events. During his employment, Hermalyn was

entrusted with knowing the identities and betting preferences of DraftKings’ most loyal and

significant customers and DraftKings’ strategies to attract and retain those customers.

       4.         Hermalyn repeatedly executed contractual agreements with DraftKings—in

exchange for millions of dollars of compensation—in which he agreed not to use or disclose

confidential DraftKings information, not to compete with DraftKings, and not to solicit




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DraftKings’ employees or customers. Hermalyn’s contractual agreements also state that any

disputes with DraftKings about his obligations would be resolved in Massachusetts and pursuant

to Massachusetts law.

       5.      On Thursday, February 1, 2024—only ten days before Super Bowl LVIII,

scheduled for February 11—Hermalyn abruptly resigned from his position at DraftKings to take a

nearly identical role with Fanatics. The Super Bowl is the most significant day in the gaming

calendar and the most important event of the year for DraftKings and its business, not just because

of the billions of dollars wagered, but also for the vital opportunities to strengthen relationships

with VIP customers and business partners at events surrounding the game. Without prompt

injunctive relief barring Hermalyn from violating his agreements with DraftKings, Hermalyn will

be free to launch an unlawful and targeted attack against DraftKings’ business and divert its most

valuable customers immediately prior to one of the most business critical weekends for

DraftKings. Customer loyalty is one of the most important competitive edges in the gaming

industry. Hermalyn knows DraftKings’ playbook on how to engage and retain VIP clients. On

information and belief, Hermalyn, acting in concert with Fanatics, timed his departure and theft of

confidential information to coincide with the critical days leading up to the Super Bowl to further

a scheme to irreparably interfere with DraftKings’ customer and business relationships by pursuing

those relationships at Fanatics using the confidential information and goodwill that he obtained at

DraftKings.    In his agreements, Hermalyn expressly agreed that DraftKings would suffer

irreparable harm in the event of a breach or threatened breach of his obligations to the company.

Hermalyn is now in active breach of his agreements, and DraftKings is being irreparably harmed

as a result. DraftKings paid Hermalyn millions of dollars in compensation pursuant to his written

agreements, and is entitled to the benefit of its bargain. Immediate judicial intervention is required.




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       6.      Hermalyn’s brazen disregard of his contractual obligations to DraftKings is just the

tip of the iceberg. DraftKings has discovered that on his way out the door, and from a non-

DraftKings device, Hermalyn viewed and downloaded trade secrets and other highly sensitive

confidential information of DraftKings. On January 29, Hermalyn emailed DraftKings employees

and external potential partners that “a friend passed, dealing with that today / tomorrow.” He

further proposed “[t]wo options for Wednesday, keep as is and my team can tackle . . . or push to

next week?” He closed by thanking everyone “so much for understanding.” During the next

several days, Hermalyn was essentially AWOL: ignoring communications from his DraftKings

colleagues, rescheduling meetings, and failing to conduct business as usual. DraftKings has since

learned, through geolocation data and access account records, Hermalyn had in fact traveled to

California and visited Fanatics offices in Los Angeles on January 29 and 30.

       7.      While there, and while still employed by DraftKings, Hermalyn accessed and

downloaded confidential and important DraftKings information—some of which only a handful

of other DraftKings employees could access. This information includes, among other things, a

detailed list of business partners, such as representatives of teams and leagues, as well as athletes,

celebrities, influencers, vendors, and corporate officers and directors who are attending the 2024

Super Bowl, as well as a presentation reflecting DraftKings’ marketing strategy and value

proposition for prospective business partners to enter into commercial engagements with

DraftKings. Given his impending resignation, there was no legitimate business reason for

Hermalyn to download these highly confidential documents to a non-DraftKings device. On

information and belief, Hermalyn has misappropriated DraftKings’ confidential information to

further the business interests of Fanatics, even before he was on the payroll of his new employer.

       8.      In the hands of a competitor like Fanatics, the information Hermalyn accessed and




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downloaded represents a significant threat to DraftKings’ business—especially during the crucial

days leading up to and during the Super Bowl. Injunctive relief is urgently necessary to prevent

Hermalyn from using and disclosing the extraordinarily sensitive information he downloaded and,

on information and belief, stole, to harm DraftKings any more than he already has.

       9.      Hermalyn and Fanatics took additional fraudulent steps to further their scheme. On

the same day that Hermalyn resigned from DraftKings, he filed a 26-page lawsuit—obviously

prepared well in advance by two sophisticated large law firms—in California Superior Court in

Los Angeles seeking to void his non-competition covenants on the grounds that he is a California

resident. In that lawsuit, Hermalyn claims that he supposedly became a California resident during

the few days he was covertly visiting Fanatics in Los Angeles. But Hermalyn maintains a multi-

million dollar residence in New Jersey, where his wife still works and his kids go to school. He is

no more a Californian than Governor Murphy. And in an effort to prevent his sham California

lawsuit from being removed to federal court, Hermalyn and Fanatics acted in concert to cause

Fanatics to form a sham corporation in the State of Nevada the day before they filed that lawsuit.

       10.     DraftKings has conducted a limited investigation in the days since Hermalyn’s

sudden resignation. But even that initial investigation has revealed that during his employment

with DraftKings Hermalyn engaged in numerous other acts of deception, lies, and other

misconduct. DraftKings has already uncovered evidence showing that Hermalyn actively solicited

DraftKings employees to join Fanatics this past year, and spent thousands of dollars of DraftKings’

money to enter into an agreement with a restaurant group with which Hermalyn had, on

information and belief, an undisclosed personal affiliation.

       11.     Discovery in this litigation will establish the full extent of Hermalyn’s misconduct.

On this record, Hermalyn’s misdeeds urgently warrant injunctive relief to protect DraftKings from




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suffering further irreparable harm to its valuable customer and business relationships. Immediate

injunctive relief is necessary because Hermalyn is acting in concert with DraftKings’ direct

competitor and is engaging in a pattern of deceit and dishonesty, including, but not limited to,

illicitly downloading, retaining, and using DraftKings’ valuable confidential information

concerning DraftKings’ Super Bowl and other sensitive business strategies.

                                           PARTIES

       12.    DraftKings is a Nevada corporation with a principal place of business in Boston,

Massachusetts.

       13.    Hermalyn is a natural person who, on information and belief, is domiciled and

resides in New Jersey. From approximately September 14, 2020 until February 1, 2024, Hermalyn

was an employee of DraftKings, living first in New York and then in New Jersey. During his

employment with DraftKings, Hermalyn held the titles of Senior Vice President of Business

Development and Vice President of VIP Management.

                               JURISDICTION AND VENUE

       14.    This Court has subject-matter jurisdiction to adjudicate this action under 28 U.S.C.

§§ 1331, 1332(a)(2), 1367.

       15.    This Court has personal jurisdiction over Hermalyn pursuant to the forum-selection

clauses in the Nonsolicitation, Nondisclosure & Assignment of Inventions Agreement dated

August 31, 2020 (Ex. A) (the “Confidentiality Agreement”) and the Noncompetition Covenant

dated August 16, 2023 (Ex. B) (the “Noncompetition Covenant”), through which Hermalyn has

irrevocably submitted to the exclusive jurisdiction of the United States District Court for the

District of Massachusetts and the laws of the Commonwealth of Massachusetts for purposes of

this dispute. See Confidentiality Agreement § 9; Noncompetition Covenant § (f). These forum-




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     selection provisions expressly provide that Hermalyn “submit[s] to the personal jurisdiction of

     such court[]” and “waive[s] any other requirement (whether imposed by statute, rule of court, or

     otherwise) with respect to personal jurisdiction” for “any dispute arising” under the Confidentiality

     Agreement or the Noncompetition Covenant. See Confidentiality Agreement § 9; Noncompetition

     Covenant § (f).

            16.     This Court also has personal jurisdiction over Hermalyn because his tortious acts

     caused harm to DraftKings in Massachusetts, where it has its principal place of business.

            17.     Venue in this Court is proper because the parties contractually agreed that this Court

     would serve as the exclusive venue for this dispute.         See Confidentiality Agreement § 9;

     Noncompetition Covenant § (f). Venue is also proper because DraftKings has its principal place

     of business in Suffolk County, Massachusetts.

                                        STATEMENT OF FACTS

I.      DraftKings and Fanatics Are Fierce Competitors in the Digital Sports Betting and
        iGaming Industry

            18.     Online sports betting and iGaming is a fiercely competitive industry. There are a

     handful of online gaming businesses that compete for the small number of high-net worth players

     who drive substantial revenue for these businesses. These competitors jealously guard the

     customer relationships that they establish, the technology that they create, and the marketing

     strategies that they develop to pursue their own respective share of the market.

            19.     DraftKings is a digital sports entertainment and gaming company known for its

     industry-leading fantasy sports, mobile sports betting, and iGaming products. Headquartered in

     Boston, DraftKings is a multi-channel provider of sports betting and gaming technologies,

     powering sports and gaming entertainment across U.S. and global markets.




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             20.     DraftKings has three core business-to-consumer vertical business lines: Fantasy

      Sports; DraftKings Sportsbook; and DraftKings Casino, commonly referred to as its iGaming

      business. Fantasy Sports is available for free in every state. DraftKings’ Sportsbook offers online

      and retail betting for major U.S. and international sports and, along with paid Fantasy Sports,

      operates in legalized markets across the United States. DraftKings Casino (i.e., its iGaming

      business) brings consumers casino games online, and is available in Connecticut, New Jersey,

      Michigan, Pennsylvania, and West Virginia. The business of DraftKings is global in its scope,

      especially with respect to high net-worth VIP players who frequently have residences in multiple

      jurisdictions throughout the world.

             21.     Fanatics is a digital sports platform operating businesses throughout the United

      States. According to its website, one such business is Fanatics Betting & Gaming, an online and

      retail sports betting and online casino real-money wagering platform. The Fanatics Sportsbook

      app allows customers to place bets on a substantially similar range of sporting events as

      DraftKings’ Sportsbook and is similarly available in certain jurisdictions where sports betting is

      legal. Fanatics iGaming, like DraftKings’ Casino, provides customers with the opportunity to play

      casino games including slots, table games, and live-action dealers, and is currently available in

      Pennsylvania and West Virginia.

             22.     Fanatics’ businesses compete directly throughout the United States with

      DraftKings.

II.      Hermalyn Received and Accessed DraftKings’ Trade Secrets and Other Highly
         Confidential Information

             23.     The trade secrets and confidential information that Hermalyn learned and accessed

      in his role leading DraftKings’ VIP team are among the most valuable owned by DraftKings, and

      correspondingly, the most attractive that any competitor—like Fanatics—could hope to steal.



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       24.      In his role leading this critical team, Hermalyn was responsible for developing and

managing two distinct segments of the VIP business.

       25.      Hermalyn supervised and oversaw DraftKings’ VIP hosts, the network of

DraftKings employees working one-on-one with VIP players as the “human face” of DraftKings.

Once a VIP becomes a hosted player, they have access to additional benefits and perks (e.g. tickets

to sporting events and dinners). These types of personal, one-on-one relationships are important

to develop brand loyalty and encourage VIP players to stay with DraftKings rather than leave for

a competitor.

       26.      Hermalyn was responsible for DraftKings’ events and experiences business.

During marquee sporting events throughout the year (e.g., Super Bowl, Formula One races,

Kentucky Derby, etc.), DraftKings arranges to host VIP players at events to build brand loyalty

and further encourage and incentivize a long term relationship. These events frequently include

VIP players and business partners, such as teams, leagues, casinos, athletes, celebrities,

influencers, vendors, and corporate officers and directors.

       27.      In overseeing these business segments, Hermalyn accessed and received some of

DraftKings’ most valuable trade secrets and other confidential information, including:

               VIP Player Lists – Hermalyn received comprehensive VIP player lists containing

       a wide range of information critical to forging personal connections with VIP players. Such

       information would be incredibly valuable to a competitor—like Fanatics—in trying to

       recruit these VIP players away from DraftKings by establishing their own personal

       relationships through the use of DraftKings’ intelligence.

               Research and Development – Hermalyn managed and developed player

       promotions and incentives. Most notably, Hermalyn managed the VIP Hosts who used




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DraftKings’ Dynasty Program to identify and reward customers based on their loyalty and

repeat business.    Hermalyn had intimate knowledge of DraftKings’ strategies for

identifying loyal customers, providing tailored incentives and rewards, building

relationships with them, managing their questions and interests, and ensuring ongoing

loyalty. In the hands of Fanatics, this information would provide a roadmap for how to

mimic DraftKings’ analysis of the sports betting and iGaming customer base, as well as

how to develop programs, promotions, and incentives specifically geared towards luring

that customer base away from DraftKings to Fanatics.

      Partnership Relationships – Hermalyn was intimately familiar with the

fundamental relationships and points of contact with DraftKings’ critical business partners,

such as teams, leagues, casinos, athletes, celebrities, influencers, vendors, and corporate

officers and directors, as well as a host of other organizations and individuals that are

essential to the advancement of DraftKings’ marketing strategy. In other cases, these

relationships form a core component of DraftKings’ marketing strategy, advancing

DraftKings’ reputation as a well-established and reliable brand in the online sports betting

and gaming space that can be trusted for both casual and VIP players alike. If Fanatics

were to access this information, it could accelerate its business in the sports betting and

iGaming space by capitalizing on DraftKings’ significant investment of time and money

in identifying valuable partnerships and securing those connections. Hermalyn also knew

the terms of DraftKings’ engagements with its partners.           Fanatics could use that

confidential information to undercut DraftKings in contract negotiations with these

partners.




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                 Employee Information – As a supervisor, Hermalyn had access to employee lists,

          compensation information, and performance reviews and metrics for a wide range of

          DraftKings’ employees. Hermalyn could use that information to help Fanatics refine its

          own employee retention and recruitment procedures. Hermalyn could also use that

          information improperly to solicit DraftKings employees based on his knowledge of their

          confidential employment terms and compensation, performance, customer relationships

          and knowledge of trade secrets and confidential business plans.

          28.     Finally, as a senior leader with DraftKings, Hermalyn regularly participated in

   executive meetings where he was privy to confidential financial information, performance

   information, as well as business plans and prospects that transcend the VIP team and extend to

   DraftKings’ broader strategic approach to the market.

III.   DraftKings Takes Reasonable Precautions to Protect Its Trade Secrets and Other
       Highly Confidential Information

          29.     DraftKings places a high value on its trade secrets and other confidential

   information, and as a result, has implemented a robust infrastructure of agreements, policies, and

   technological safeguards to maintain the secrecy of such information.

          30.     For instance, DraftKings requires all employees upon commencing employment to

   execute their own confidentiality agreement, mandating that they not use or disclose any

   confidential or proprietary information except on behalf of DraftKings.

          31.     DraftKings also promulgates a document containing all of its “Information Security

   Policies,” which govern the manner in which DraftKings’ employees are expected to safeguard

   DraftKings’ information assets. Such policies include the:

                 Acceptable Use Policy

                 Database Credentials Policy



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              Email & Electronic Messaging System Use Policy

              Employee Termination Policy

              Information Sensitivity Policy

              Password Policy

              Removable Media Policy

              Risk Assessment Policy

              Training Policy

       32.     In addition, all DraftKings’ employees are trained and re-trained on an annual basis

with respect to DraftKings’ information security policies and must acknowledge that they have

received such training and that they agree to abide by such policies.

       33.     As for technological safeguards, all DraftKings’ devices are encrypted so that in

the event that they are lost or stolen, an unauthorized user would not be able to access any

DraftKings’ information that is stored or normally accessible from the device.

       34.     In addition, in order to access DraftKings’ Google workspace—that houses

DraftKings’ trade secrets and other highly sensitive confidential information—DraftKings

employees must enter a password that they need to update every 90 days, as well as engage in a

two-step authentication process.

       35.     Once in DraftKings’ Google workspace, access rights to particular folders and files

is strictly limited to those employees who would have a legitimate business reason for consulting

such materials.

       36.     DraftKings has also implemented a host of data loss prevention systems that

actively monitor the sharing and transfer of any DraftKings’ files or folders outside of the

DraftKings’ IT infrastructure, either through the use of USB devices, external cloud platforms, or



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      through email. In the event that any of these systems identify suspicious activity, DraftKings’ IT

      team immediately launches a thorough investigation to determine whether a DraftKings’ employee

      has engage in conduct that violates the law or DraftKings’ policies.

IV.      Hermalyn Agrees to the Confidentiality Agreement and the Noncompetition Covenant
         in Exchange for His Employment and Valuable Equity in DraftKings

             37.      Hermalyn signed a number of agreements with DraftKings throughout his

      employment committing to certain post-termination obligations.

                   A. The Confidentiality Agreement

             38.      As a condition of his employment, Hermalyn entered into the Confidentiality

      Agreement, which is governed by Massachusetts law. Id. § 9.

             39.      Through that agreement, Hermalyn affirmed his duty of loyalty to DraftKings,

      committing that during his employment he “will devote [his] best efforts on behalf of the

      Company,” and further agreeing “not to provide any services to any Competing Business or engage

      in any conduct which may create an actual or appear to create a conflict of interest.” Id. § 1.

             40.      A “Competing Business” is defined as “any person, firm, association, corporation

      or any other legal entity that is engaged in a business that is competitive with any aspect of the

      Business of the Company,” which includes “the research, design, development, marketing, sales,

      operations, maintenance and commercial exploitation pertaining to the operation of, and providing

      products and services for . . . Regulated Gaming.” Id. Definitions (i)-(ii).

             41.      “Regulated Gaming” is defined as “the operation of games of chance or skill or

      pari-mutuel or fixed odds games (including, but not limited to, lotteries, pari-mutuel betting, bingo,

      race tracks, jai alai, legalized bookmaking, off-track betting, casino games, racino, keno, and sports

      betting or any play for fun (non-wagering) versions of the foregoing) and any type of ancillary

      service or product related to or connected with the foregoing.” Id. Definitions (ii).



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       42.     Hermalyn further agreed to safeguard DraftKings “Confidential Information,”

promising that he will “not, during or after [his] employment: (i) use any Confidential Information

for any purpose that is not authorized by the Company; (ii) disclose any Confidential Information

to any person or entity, except as authorized by the Company in connection with Employee’s job

duties; or (iii) remove or transfer Confidential Information from the Company’s premises or

systems except as authorized by the Company.” Id. § 5.

       43.     “Confidential Information” is defined as “all information or a compilation of

information, in any form (tangible or intangible or otherwise), that is not generally known to

competitors or the public, which Company considers to be confidential and/or proprietary,

including but not limited to: research and development; techniques; methodologies; strategies;

product information, designs, prototypes and technical specifications; algorithms, source codes,

object codes, trade secrets or technical data; training materials methods; internal policies and

procedures; marketing plans and strategies; pricing and cost policies; customer, supplier, vendor

and partner lists and accounts; customer and supplier preferences; contract terms and rates;

financial data, information, reports, and forecasts; inventions, improvements and other intellectual

property; product plans or proposed product plans; know-how; designs, processes or formulas;

software and website applications; computer passwords; market or sales information, plans or

strategies; business plans, prospects and opportunities (including, but not limited to, possible

acquisitions or dispositions of businesses or facilities); information concerning existing or

potential customers, partners or vendors. Confidential Information shall also mean of or related

to Company’s current or potential customers, vendors or partners that is considered to be

confidential or proprietary to the applicable customer, vendor or partner.” Id. Definitions (iii).




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        44.     Relatedly, Hermalyn promised that upon termination of his employment for any

reason, he “will immediately surrender to the Company all Company property in [his] possession,

custody, or control, including any and all documents, electronic information, and materials of any

nature containing any Confidential Information, without retaining any copies.” Id. § 5.

        45.     DraftKings made clear, however, that “[p]ursuant to 18 U.S.C. Section 1833(b),

[Hermalyn] shall not be held criminally or civilly liable under any Federal or State trade secret law

for the disclosure of a trade secret that: (1) is made in confidence to a Federal, State, or local

government official, either directly or indirectly, or to any attorney, and solely for the purpose of

reporting or investigating a suspected violation of law; or (2) is made in a complaint or other

document filed in a lawsuit or other proceeding, if such filing is made under seal.” Id.

        46.     In addition to his confidentiality and return of property obligations, Hermalyn also

agreed to certain narrowly tailored non-solicitation obligations. For instance, he agreed that during

his employment and for twelve (12) months after the termination of his employment, he would

“not directly or indirectly either for [himself] or for any other person, partnership, legal entity, or

enterprise, solicit or transact business, or attempt to solicit or transact business with, any of the

Company’s customers, clients, vendors or partners, or with any of the Company’s prospective

customers, clients, vendors or partners about which [Hermalyn] learned Confidential Information

. . . or which [Hermalyn] had some involvement or knowledge related to the Business of the

Company.” Id. § 2.

        47.     He similarly committed that during his employment and the same twelve (12)-

month post-termination period, he would not “directly or indirectly either for [himself] or for any

other person, partnership, legal entity, or enterprise: (i) solicit, in person or through supervision or

control of others, an employee, advisor, consultant or contractor of the Company for the purpose




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of inducing or encouraging the employee, advisor, consultant or contractor to leave his or her

relationship with the Company or to change an existing business relationship to the detriment of

the Company; (ii) hire away an employee, advisor, consultant or contractor of the Company; or

(iii) help another person or entity hire away a Company employee, advisor, consultant or

contractor.” Id. § 3.

       48.      Hermalyn also acknowledged and agreed that any breach or threatened breach of

the Confidentiality Agreement “would cause the Company irreparable harm for which monetary

damages are inadequate” and that as a result, if he breaches or threatens to breach the agreement,

“the Company shall be entitled to an injunction restraining such breach or threatened breach, or

requiring specific performance, in addition to any and all rights and remedies at law and equity.”

Id. § 8. Hermalyn further agreed that “[t]he Company shall not be obligated to present additional

evidence of irreparable harm or the insufficiency of monetary damages and, to the extent permitted

by law or under applicable court rule, does not need to post a bond or other surety.” Id.

       49.      Finally, Hermalyn assented that “[i]f the Company prevails in any request to have

[him] specifically perform [his] obligations under this Agreement (including pursuant to a

temporary restraining order or preliminary injunction), the Company shall be entitled to receive

from [him] the Company’s costs of suit, including reasonable attorney’s fees, costs and expenses

(in addition to any other relief sought, available or awarded under this Agreement).” Id.

             B. Noncompetition Covenants

       50.      Throughout his employment with DraftKings, Hermalyn was offered the

opportunity to receive valuable equity in the company in exchange for his agreement to abide by

certain non-competition restrictions all governed by Massachusetts law. See, e.g., Noncompetition

Covenant § (f).




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        51.     Hermalyn agreed to these restrictions no less than 12 times in exchange for his

receipt of millions of dollars in DraftKings equity.

        52.     In the Noncompetition Covenant, Hermalyn professed his loyalty to DraftKings,

promising that during his employment, he would “not, anywhere within the Restricted Area, acting

individually, or as an owner, shareholder, partner, employee, contractor, agent or otherwise (other

than on behalf of the Company), provide services to a Competing Business.” Id. § (a).

        53.     He also agreed that for a period of twelve (12) months following the end of his

employment, he would “not, anywhere within the Restricted Area, acting individually, or as an

owner, shareholder, partner, employee, contractor, agent or otherwise (other than on behalf of

Company): (1) provide services to a Competing Business that relate to any aspect of the Business

of the Company . . . for which [he] performed services or received Confidential Information . . . at

any time during the six (6) month period prior to such termination; or (2) commit a Threatened

Breach of the obligation set forth in the immediately preceding clause.” Id.

        54.     The Noncompetition Covenant contains substantially similar definitions of

“Competing Business,” “Business of the Company,” (which includes “Gaming”) and

“Confidential Information” as are included in the Confidentiality Agreement.              Compare

Noncompetition Covenant §§ (a)(i), (iv), (v), and (viii) with Confidentiality Agreement,

Definitions (i)-(iii).

        55.     The “Restricted Area” is defined as “any place within the United States or anywhere

else in the world, since Competing Businesses operate globally and without meaningful limitation

to compete caused by geographic locations, and because the Business of the Company is global in

nature due to the specialized industries in which the Company and Competing Businesses operate,

which Employee acknowledges and agrees is reasonable.” Id. § (a)(vii).




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            56.     Hermalyn further agreed that in the event that he breaches or threatens to breach

     the Noncompetition Covenant, the duration shall be extended “for an additional period of time

     equal to the time that elapses from the commencement of such breach [or] Threatened Breach . . .

     to the later of: (i) the termination of such breach [or] Threatened Breach . . . or (ii) the final non-

     appealable resolution of any litigation or other legal proceeding stemming from such breach [or]

     Threatened Breach.” Id. § (g).

            57.     Hermalyn also acknowledged that “the enforcement of the Noncompetition

     Covenant is necessary, among other things, to ensure the preservation, protection and continuity

     of the Company’s Confidential Information, trade secrets and goodwill” and that “due to the

     proprietary nature of the Business of the Company and relationships with others, the restrictions . . .

     set forth herein are reasonable as to duration and scope.” Id. § (d).

            58.     Finally, as with the Confidentiality Agreement, Hermalyn acknowledged and

     agreed that his breach or threatened breach of the Noncompetition Covenant would cause

     DraftKings irreparable harm, entitling it to provisional injunctive relief without a need to submit

     additional evidence of irreparable harm or the insufficiency of monetary damages, as well as entitle

     DraftKings to its attorneys’ fees and costs should it prevail in an enforcement action. Id. § (e).

V.      Hermalyn Executes His Plan to Steal Trade Secrets And Confidential Information To
        Use At Fanatics

            59.     In the week leading up to his DraftKings departure and the 2024 Super Bowl – the

     most critical time for any sports betting business and thus when Hermalyn’s defection to Fanatics

     could give it the maximum unfair advantage and cause DraftKings maximum injury – Hermalyn

     viewed and downloaded and, on information and belief, stole many of DraftKings’ most

     commercially sensitive documents. Hermalyn had no legitimate business reason to be accessing,




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let alone downloading, these documents from DraftKings’ systems at a time when he clearly has

already planned to defect to Fanatics.

       60.     On January 23, 2024, Hermalyn accessed a “VIP Founders Club” PowerPoint

presentation. Out of DraftKings’ thousands of employees, only 23 have access rights to this

document. This presentation was created in 2021 and describes a proposed loyalty program for

recruiting top-tier VIP players. In essence, it provides a roadmap for designing and executing a

gaming-industry VIP rewards program. This presentation identifies benefits to be provided to VIP

customers and explains the metrics and analyses conducted to determine what customers should

be accorded VIP status. In other words, the information in this document is exactly the information

a competitor would need to create its own VIP rewards program.

       61.     It is unclear how Hermalyn could contend to have a legitimate business purpose for

accessing this document at this time. It reflects the blueprint for creating a new VIP rewards

program that DraftKings never ultimately implemented. Although this particular program was not

implemented, the presentation contains valuable information concerning how DraftKings’ scales

and values customers, as well as how to successfully structure VIP rewards to incentivize and

recruit customers. Hermalyn’s role at DraftKings involved managing its existing, successful VIP

program; his ordinary business responsibilities did not create any reason for him to review a years-

old roadmap document created to guide the development of a different program from its origin.

Rather, the only plausible reason why Hermalyn would have accessed this April 2021 document

in January 2024 was to misappropriate its extremely valuable and confidential contents to use and

disclose for Fanatics’ benefit in competing unfairly with DraftKings.

       62.     Then, on January 24, Hermalyn downloaded a document entitled “BD [Business

Development] Team Tracker – Weekly Report.” Again, only 23 DraftKings employees have




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access rights to this document. This report is a 181-page chart containing, among other things: (i)

lists of short-term and long-term priority deals and projects; (ii) lists of then-ongoing contracts and

their current status (i.e., executed, in the process of being executed, or being negotiated through

redline exchanges); (iii) identification of target markets, media, and platforms; and (iv) internal

questions and comments from DraftKings employees and department representatives reflecting

DraftKings’ confidential business strategies. This document would allow Fanatics to evaluate the

entire landscape of DraftKings business contracts, prospects, and active contract negotiations, and

provide a window into how Fanatics can undercut and outbid DraftKings for those very same deals.

       63.     On information and belief, Hermalyn also had no legitimate business reason to

access this document, especially nearly one week prior to his departure. The “BD [Business

Development] Team Tracker – Weekly Report” was last updated in late November 2023, and

existed to allow teams involved in active negotiations with partners to centralize updates to their

negotiations and compare their negotiations to past agreements. There was also no legitimate

business reason for Hermalyn to review this document since he would be resigning from

DraftKings only a week later. The only plausible reason for Hermalyn to access this document

was for him to misappropriate the information about DraftKings’ existing and potential contractual

agreements, its planned and priority partnerships, and other business development opportunities,

and to use and disclose that information for Fanatics’ benefit in competing unfairly with

DraftKings.

       64.     Armed with core DraftKings information—information that would be of great

value in operating a competitor like Fanatics—on information and belief, Hermalyn put into action

a calculated plan to exit DraftKings at the most damaging possible time.




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       65.     On January 29, Hermalyn informed two DraftKings employees and external

potential partners that a “close friend” had died. He told DraftKings he would be taking a leave

on January 29 and January 30. Hermalyn canceled meetings scheduled for January 29, moving

some to February 1.




       66.     On January 30, Hermalyn informed another DraftKings employee that in light of

his leave, he would need to cancel a planned VIP onsite in Boston for the core VIP team to prepare

for the Super Bowl. This onsite was scheduled to run from January 29 through February 2.

Hermalyn did not respond to most, if not all, emails from his DraftKings colleagues during his

time off—purportedly because he was mourning the loss of a friend from Pennsylvania.

       67.     Geolocation data, call logs, and other activity on Hermalyn’s DraftKings’ account

have revealed that, under cover of his purported “leave,” Hermalyn traveled to California on

January 29 and went to Fanatics’ offices in Los Angeles. On January 30, while physically present

in Fanatics’ offices, Hermalyn accessed DraftKings’ Google workspace from a non-DraftKings

device and downloaded a commercially sensitive document—the “(Master) SB 2024” spreadsheet,

a document to which only 21 DraftKings employees, out of thousands, have access rights.

       68.     This spreadsheet contains a compilation of all of DraftKings’ plans for entertaining

its key partners at the 2024 Super Bowl. These business partners include representatives of teams

and leagues, as well as athletes, celebrities, influencers, vendors, and corporate officers and

directors who are invited to special events (like the Super Bowl) and are critical to DraftKings’


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business development efforts to recruit and retain VIP customers. In addition to identifying these

business partners, the spreadsheet lists the corresponding DraftKings employees who maintain

relationships with each business partner and would serve as their point of contact at the Super

Bowl—information that would be extremely valuable to a competitor seeking to enter into a

similar business relationship with them. The spreadsheet also includes information reflecting the

number of VIP customers who will also be attending those events, which, if in the hands of a

competitor, would allow them to attend the same events as DraftKings VIPs and potentially solicit

them.

        69.    Hermalyn had no legitimate business reason to download the “(Master) SB 2024”

spreadsheet to a non-DraftKings device, especially because he knew that he would no longer be

employed by DraftKings by the Super Bowl. On information and belief, Hermalyn downloaded

DraftKings’ sensitive Super Bowl strategies in order to share the information with Fanatics, with

which he was actively negotiating the terms of his future employment.

        70.    On the same trip to California, Hermalyn also repeatedly accessed and downloaded

a presentation entitled “BD_Gaming101.” DraftKings’ business development team uses this

document to pitch potential business partners on the value proposition of partnering with

DraftKings, including confidential information about the profile of DraftKings’ customers and its

other business partnerships. DraftKings requires potential partners to execute a non-disclosure

agreement before viewing the presentation.

        71.    Once again, Hermalyn had no legitimate business reason to review this document

while he was in California, as he was not participating in any partnership pitches and was not

scheduled to participate in any partnership pitches in the near future. On information and belief,

Hermalyn downloaded this presentation as well in order to share it with Fanatics.




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             72.    Hermalyn abruptly informed DraftKings on February 1 that he was resigning from

      DraftKings to join Fanatics as the President of its VIP Team, precisely the same position that he

      held on behalf of DraftKings. He also claimed that he would be heading up its Los Angeles office.

             73.    And yet, despite his resignation, that same day, Hermalyn again downloaded the

      “BD-Gaming 101” presentation, again without any legitimate business reason for doing so.

             74.    The upcoming Super Bowl will occur on February 11—one week after Hermalyn’s

      resignation, but with enough time for Hermalyn to download and use DraftKings’ confidential and

      proprietary Super Bowl information and strategies to compete unfairly against DraftKings in the

      most important days in the sports gaming calendar.

VI.      After Hermalyn’s Theft and Resignation, He Sues in California To Invalidate His
         Enforceable Restrictive Covenants

             75.    On February 1, 2024—the day of his resignation, Hermalyn filed a 26-page

      complaint in California Superior Court for the County of Los Angeles seeking declaratory and

      injunctive relief alleging violations of California Business & Professions Code Sections 16600,

      16600.1, 16600.5, and 17200. Hermalyn simultaneously filed an Ex Parte Application for a

      Temporary Restraining Order and an Order to Show Cause Regarding Preliminary Injunction

      seeking to invalidate his non-compete agreement as a “resident” of California.

             76.    These extensive legal papers demonstrate that Hermalyn had been coordinating

      with Fanatics and its lawyers for weeks—possibly months—to evade his non-competition

      obligations to DraftKings.

             77.    On information and belief, Hermalyn manufactured his purported “residency” in

      California solely to evade the obligations of his contractual agreements with DraftKings—despite

      having resided in New Jersey with his family for years.




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         78.   During his DraftKings employment from September 2020 through February 1,

2024, Hermalyn resided in Bay Head, New Jersey.               Hermalyn also routinely traveled to

Massachusetts for DraftKings business.

         79.   Hermalyn owns a home in Bay Head, New Jersey which he purchased in December

2021 for $4,100,000. Hermalyn pays property and income tax in the state of New Jersey.

         80.   Hermalyn previously lived in New York and is registered to vote in New York.

Approximately three weeks prior to his resignation from DraftKings, he told a colleague that he

intended to move back to New York City and send his children to a public school located on the

Upper West Side of Manhattan.

         81.   Hermalyn’s children attend schools in New Jersey and his wife is currently

employed as a Director of Sales for Tory Burch in New York City, her employer for over seven

years.

         82.   On information and belief, Hermalyn’s new-found “residence” in California is a

hastily manufactured litigation gambit. It is a transparent effort to flee a jurisdiction that enforces

non-competition agreements to one that does not. Hermalyn’s desire to avoid his bargained-for

obligations simply by devising a plan to “move” to California irreparably harms DraftKings.

         83.   Hermalyn claims that during his visit to California which spanned January 29 to

January 31, he: (1) signed a lease for an apartment in Los Angeles (location, size, cost, and duration

of lease unknown); (2) obtained a California driver’s license; (3) purchased a car registered in

California; (4) registered to vote in California; (5) obtained an appointment with a physician in

California; and (6) contacted summer camps and “joined waitlists.” Then, on February 1, 2024,

he filed suit in California state court claiming to be a California resident who could not be held to

his contractual non-competition obligations and Massachusetts forum-selection clauses. In short,




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   what Hermalyn would have this Court believe is that anyone with some spare cash and a phone

   can become a California resident in less time than the average trip to Disneyland.

VII.   If Hermalyn Is Permitted to Use DraftKings’ Trade Secrets and Confidential
       Information, and Continue His Employment with Fanatics, DraftKings Will Continue To
       Suffer Irreparable Harm

          84.     The irreparable competitive injury that DraftKings will suffer in the absence of

   emergency relief is all the more pronounced given the various aggravating factors evidenced by

   Hermalyn’s conduct.

          85.     During the final weeks of his employment with DraftKings, Hermalyn, on

   information and belief, in concert with and at the direction of Fanatics, engaged in a pattern of

   stealth, deception, and outright lies on the eve of the Super Bowl, the most important gaming event

   of the year. On information and belief, the reason behind the timing is readily apparent: to cause

   the maximum harm to DraftKings, and its customer relationships, and to provide the maximum

   competitive benefit to Fanatics.

          86.     On information and belief, through misappropriation and exploitation of

   DraftKings’ trade secrets and confidential information, including information relating specifically

   to DraftKings’ strategies, events, and activities during the Super Bowl, Hermalyn and Fanatics

   hope to interfere with and commandeer DraftKings’ most important long-term customer and

   partner relationships this weekend.

          87.     Hermalyn, formerly the head of DraftKings’ VIP team, is assuming the role of

   President of Fanatics VIP. He will be competing directly against DraftKings for the very same

   VIP players he was working to solicit just weeks prior on DraftKings’ behalf—players that drive

   a significant percentage of overall revenue in the sports betting and iGaming industry. DraftKings

   welcomes fair competition. But this is a paradigm record of unfair competition. On information

   and belief, Hermalyn and Fanatics are using, and without injunctive relief, will continue to use


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        DraftKings’ trade secrets and confidential information to recruit VIP players to Fanatics.

VIII.      DraftKings’ Post-Resignation Investigation Uncovers Additional Wrongdoing

               88.     Once it became clear that Hermalyn had been lying to DraftKings for at least several

        weeks leading up to his resignation, DraftKings immediately launched a preliminary investigation

        of Hermalyn’s activities at DraftKings. The preliminary investigation revealed that Hermalyn

        engaged in widespread misconduct, including, on information and belief, unlawfully soliciting

        DraftKings employees on behalf of Fanatics in 2023, inducing DraftKings to award him a multi-

        million dollar retention grant under false pretenses, and entering into a self-dealing transaction.

               89.     In February 2023, Hermalyn attended a Super Bowl party with Fanatics executives.

        After that party, by email dated February 17, Matt King, Fanatics Betting and Gaming’s Chief

        Executive Officer, requested a meeting with Hermalyn ostensibly to discuss an employment

        position for Hermalyn with Fanatics.

               90.     After meeting with Hermalyn, Fanatics targeted and attempted to poach other

        employees in DraftKings’ VIP organization, all of whom, like Hermalyn, are bound by post-

        termination non-competes.

               91.     For example, Fanatics offered Robert Ferrara (“Ferrara”), a VIP representative who

        reported to Hermalyn, a senior level “strategy” role reporting to Alex Lee, Senior Vice President

        & General Manager of Fanatics Loyalty. Fanatics also attempted to hire at least two other

        DraftKings VIP representatives—both of whom also reported to Hermalyn.

               92.     On July 20, 2023, Ferrara notified DraftKings that he was resigning to assume a

        role with Fanatics that Ferrara claimed was in a non-competitive part of Fanatics’ business.

        Specifically, Ferrara claimed that he was going to work in Fanatics’ collectibles business, as

        opposed to its gaming business.

               93.     Later that day, disregarding his contractual commitments not to solicit DraftKings


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employees, Hermalyn emailed members of his VIP team multiple times encouraging them to meet

with “Mike,” presumably Michael Rubin, Fanatics’ Chief Executive Officer, describing him as

“one of us.”




       94.     Hermalyn’s email encouraging members of his team to explore employment

opportunities with a direct competitor constitutes a breach of his duty of loyalty and contractual

non-solicitation obligations to DraftKings.

       95.     Hermalyn’s email also states that he was “getting out of the industry” at the time—

on information and belief, a thinly veiled reference to his plan to avoid his noncompete obligations

by claiming to work in a non-competitive capacity with Fanatics—like Ferrara.

       96.     This is only the beginning of Hermalyn’s deception and disloyalty. In July 2023,

Hermalyn affirmed his loyalty and devotion to DraftKings, falsely portraying himself to

DraftKings’ management as a white knight against Fanatics’ recruitment campaign. Hermalyn

informed DraftKings’ management about Fanatics’ efforts to recruit him and the VIP team and

falsely stated that he was trying to persuade his team to remain with DraftKings. On information

and belief, Hermalyn leveraged his lies and self-dealing to trick DraftKings into awarding him a

lucrative retention compensation package.

       97.     Unaware that Hermalyn was a double agent encouraging his subordinates to meet

with Fanatics’ CEO, on July 31, 2023, DraftKings awarded Hermalyn a multi-million dollar equity


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grant under false pretenses through another equity agreement. That agreement, as the ones before

it, prohibited Hermalyn from competing with DraftKings for 12 months following the end of his

employment.

       98.     On information and belief, after Hermalyn unlawfully and surreptitiously solicited

his own DraftKings subordinates to consider joining Fanatics, he informed DraftKings

management that in order to retain his subordinates, DraftKings would need to pay them generous

retention packages.

       99.     At all relevant times, Hermalyn was aware that DraftKings fiercely protects its

confidential and proprietary information concerning its VIP customers and customer strategies,

both in connection with the Super Bowl and more broadly. As a result of Fanatics’ recruitment of

Ferrara, described above, Hermalyn knew that DraftKings enforces the restrictive covenants it

obtains from its employees, including but not limited to, the non-competition covenants, to protect

against employees unfairly competing, particularly as it relates to Fanatics and other major

competitors. On this record, Hermalyn’s breach of his contractual obligations and fiduciary duties

is knowing and willful.

       100.    Hermalyn’s deceptive conduct was not limited to assisting Fanatics’ efforts to raid

DraftKings’ workforce or poach Hermalyn and his subordinates.

       101.    He also arranged for DraftKings to purchase thousands of dollars worth of dinners

at three New York City restaurants owned by an entity with which, on information and belief, he

is affiliated, ostensibly for the purpose of entertaining VIP clients. Hermalyn signed the contract

on behalf of DraftKings with those very restaurants. On information and belief, Hermalyn never

disclosed his affiliation to anyone at DraftKings when he made this arrangement. Furthermore, to

date, DraftKings has not uncovered evidence that Hermalyn entertained any VIP clients at these




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      restaurants.

IX.      Hermalyn Exacts Revenge on DraftKings After He Is Held Accountable For Workplace
         Misconduct.

             102.    In the weeks leading up to Hermalyn’s departure, Hermalyn became aware that he

      was under investigation for workplace misconduct. On January 26, 2024, Hermalyn was informed

      that DraftKings was taking immediate disciplinary action towards him, including by reducing his

      compensation and title, while DraftKings continued to evaluate his conduct. After this meeting,

      Hermalyn expressed that his desire was to move forward with DraftKings and remain

      employed. However, DraftKings’ disciplinary action and ongoing observation of his conduct, on

      information and belief, motivated Hermalyn to finally carry out his scheme, that appears to have

      been hatched as early as February 2023, to leave DraftKings for Fanatics and inflict maximum

      harm upon DraftKings on his way out. So, he decided to travel to Los Angeles to Fanatics’ offices,

      download DraftKings’ confidential information while there and then resign the week before the

      Super Bowl – with no warning or notice.

             103.    The investigation was prompted by a female employee’s allegations about

      inappropriate workplace treatment, and thereafter numerous additional employees raised

      allegations of improper conduct including theft of company funds, inappropriate behavior towards

      women and bullying. In part, DraftKings learned the following:

                    Hermalyn used a corporate credit card to purchase thousands of dollars of wine

                     intended for personal use with his friends, while describing in DraftKings’ expense

                     records that the purchase was for VIP entertainment and gifts. He also used his

                     corporate credit card to book first-class plane tickets in violation of company

                     policy;

                    Hermalyn further directed DraftKings funds to his close friends’ business, without



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                 disclosing his relationship, by ensuring that the company’s 2023 holiday gifting

                 initiative was run through a high-end boutique owned by that friend;

                Hermalyn violated DraftKings’ policies with respect to expense reimbursement, on

                 information and belief, using company funds for his own personal benefit. He spent

                 thousands of dollars in company funds on merchandise featuring the company’s

                 logo and intellectual property that he did not obtain approval to use. He miscoded

                 the invoices as “holiday giving”; and

                Numerous female DraftKings employees made allegations that Hermalyn made

                 them feel uncomfortable in the workplace. For example, these allegations include

                 that he: (i) inappropriately berated a female employee during a meeting with co-

                 workers; (ii) engaged in unwelcome physical contact with a female employee

                 without her consent; (iii) made inappropriate comments regarding his female

                 colleague’s physical appearance; and (iv) numerous other allegations that are still

                 outstanding.

          104.   DraftKings’ investigation is ongoing, and DraftKings reserves the right to add

additional claims against Hermalyn in the future as the evidence warrants.

     COUNT I – Breach of Contract by Misappropriation (Confidentiality Agreement)

          105.   DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          106.   The Confidentiality Agreement is a valid and binding contractual agreement, as

described above.

          107.   DraftKings fully performed its obligations under the Confidentiality Agreement.

          108.   The Confidentiality Agreement was made for valid consideration, including the




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compensation Hermalyn received in the course of his employment.

        109.    In the Confidentiality Agreement, Hermalyn agreed to safeguard DraftKings

“Confidential Information,” promising that he will “not, during or after [his] employment: (i) use

any Confidential Information for any purpose that is not authorized by the Company; (ii) disclose

any Confidential Information to any person or entity, except as authorized by the Company in

connection with Employee’s job duties; or (iii) remove or transfer Confidential Information from

the Company’s premises or systems except as authorized by the Company.” Id. § 5.

        110.    Hermalyn further agreed that upon termination of his employment for any reason,

he “will immediately surrender to the Company all Company property in [his] possession, custody,

or control, including any and all documents, electronic information, and materials of any nature

containing any Confidential Information, without retaining any copies.” Id. § 5.

        111.    Hermalyn also affirmed his duty of loyalty to DraftKings, committing that during

his employment he “will devote [his] best efforts on behalf of the Company,” and further agreeing

“not to provide any services to any Competing Business or engage in any conduct which may

create an actual or appear to create a conflict of interest.” Id. § 1.

        112.    As described in detail above, Hermalyn breached these provisions of the

Confidentiality Agreement, including by stealing DraftKings’ trade secrets and other confidential

information to use for Fanatics’ benefit.

        113.    DraftKings has suffered and will suffer damages and irreparable harm as a direct

and proximate result of Hermalyn’s breach of the Confidentiality Agreement, including the loss of

its trade secrets and other confidential information, and will continue to suffer irreparable harm as

a result of that breach for which there is no adequate remedy at law.




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  COUNT II – Breach of Contract by Employee Solicitation (Confidentiality Agreement)

          114.   DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          115.   The Confidentiality Agreement is a valid and binding contractual agreement, as

described above.

          116.   DraftKings fully performed its obligations under the Confidentiality Agreement.

          117.   The Confidentiality Agreement was made for valid consideration, including the

compensation Hermalyn received in the course of his employment.

          118.   In the Confidentiality Agreement, Hermalyn agreed that during his employment

and for the twelve (12) months following the termination of his employment, he would not

“directly or indirectly either for [himself] or for any other person, partnership, legal entity, or

enterprise: (i) solicit, in person or through supervision or control of others, an employee, advisor,

consultant or contractor of the Company for the purpose of inducing or encouraging the employee,

advisor, consultant or contractor to leave his or her relationship with the Company or to change an

existing business relationship to the detriment of the Company; (ii) hire away an employee, advisor,

consultant or contractor of the Company; or (iii) help another person or entity hire away a

Company employee, advisor, consultant or contractor. Id. § 3.

          119.   Hermalyn affirmed his duty of loyalty to DraftKings, committing that during his

employment he “will devote [his] best efforts on behalf of the Company,” and further agreeing

“not to provide any services to any Competing Business or engage in any conduct which may

create an actual or appear to create a conflict of interest.” Id. § 1.

          120.   As described in detail above, Hermalyn breached these provisions of the

Confidentiality Agreement, including by encouraging subordinate members of his VIP team to




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meet with, on information and belief, Fanatics’ CEO Michael Rubin and explore employment

opportunities with Fanatics.

          121.   DraftKings has suffered damages as a direct and proximate result of Hermalyn’s

breach of the Confidentiality Agreement, including being forced to replace at least one member of

the VIP team who resigned to commence employment with Fanatics, and forced to pay additional

retention packages to other employees.

          122.   By virtue of his lawsuit in California seeking to invalidate his employee non-

solicitation restrictions, Hermalyn has threatened to breach such restrictions, in which case

DraftKings would suffer irreparable harm as the result of Hermalyn’s breach of the Confidentiality

Agreement, including the loss of valuable members of the VIP team, and will continue to suffer

irreparable harm as a result of that breach for which there is no adequate remedy at law.

          COUNT III – Breach of Contract by Competition (Noncompetition Covenant)

          123.   DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          124.   Throughout his employment with DraftKings, Hermalyn was offered the

opportunity on multiple occasions to receive valuable equity in DraftKings in exchange for his

agreement to abide by certain non-competition restrictions that are substantially similar to those

found in the Noncompetition Covenant. The Noncompetition Covenant is a valid and binding

contractual agreement that Hermalyn affirmed 12 times during his DraftKings employment.

          125.   DraftKings fully performed its obligations under the Noncompetition Covenant.

          126.   Under the Noncompetition Covenant, Hermalyn agreed that for a period of twelve

(12) months following the end of his employment, he would “not, anywhere within the Restricted

Area, acting individually, or as an owner, shareholder, partner, employee, contractor, agent or




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otherwise (other than on behalf of Company): (1) provide services to a Competing Business that

relate to any aspect of the Business of the Company . . . for which [he] performed services or

received Confidential Information . . . at any time during the six (6) month period prior to such

termination; or (2) commit a Threatened Breach of the obligation set forth in the immediately

preceding clause.” Id. (a)

       127.    The Noncompetition Covenant contains substantially similar definitions of

“Competing Business,” “Business of the Company,” (which includes “Gaming”) and

“Confidential Information” as appears in the Confidentiality Agreement.                       Compare

Noncompetition Covenant §§ (a)(i), (iv), (v), and (viii) with Confidentiality Agreement,

Definitions (i)-(iii). The “Restricted Area” is defined as “any place within the United States or

anywhere else in the world, since Competing Businesses operate globally and without meaningful

limitation to compete caused by geographic locations, and because the Business of the Company

is global in nature due to the specialized industries in which the Company and Competing

Businesses operate, which Employee acknowledges and agrees is reasonable.” Id. § (vii).

       128.    Hermalyn breached the Noncompetition Covenant by accepting employment with

Fanatics, a direct competitor of DraftKings, in substantially the same position he held at

DraftKings within the Restricted Area during the 12-month period following the termination of

his employment. Furthermore, Hermalyn has not established his status as a California resident.

       129.    DraftKings has suffered and will suffer damages and irreparable harm as a direct

and proximate result of Hermalyn’s breach of the Noncompetition Covenant, including the loss of

its client relationships, good will, significant business opportunities, reputational status, as well as

its trade secrets and other confidential information, and will continue to suffer irreparable harm as

a result of that breach for which there is no adequate remedy at law




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COUNT IV – Misappropriation of Trade Secrets in Violation of the Defend Trade Secrets
                         Act (DTSA) (18 U.S.C. § 1836)

          130.   DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          131.   Hermalyn misappropriated DraftKings’ trade secrets including but not limited to:

(i) the “(Master) SB 2024” spreadsheet containing all of DraftKings’ plans for entertaining its key

partners, including representatives of teams and leagues, as well as athletes, celebrities, influencers,

vendors, and corporate officers and directors, at the 2024 Super Bowl, the corresponding

DraftKings employees who maintain relationships with each business partner and would serve as

their point of contact at the Super Bowl, what events the key partners would be attending, as well

as the number of VIP customers who will also be attending those same events; (ii) the presentation

entitled “BD_Gaming101” reflecting DraftKings’ pitch to potential business partners on the value

proposition of partnering with DraftKings, including the profile of DraftKings’ customers and its

other business partnerships; (iii) the “VIP Founders Club” PowerPoint presentation describing a

proposed loyalty program for recruiting top-tier VIP players, identifying benefits to be provided

to VIP customers, explaining the metrics and analyses conducted to determine what customers

should be accorded VIP status, and providing a roadmap for designing and executing a gaming-

industry VIP rewards program; and (iv) the “BD [Business Development] Team Tracker – Weekly

Report,” containing, among other things: (a) lists of short-term and long-term priority deals and

projects; (b) lists of then-ongoing contracts and their current status (i.e., executed, in the process

of being executed, or being negotiated through redline exchanges); (c) identification of target

markets, media, and platforms; and (d) internal questions and comments from DraftKings

employees and department representatives reflecting DraftKings’ confidential business strategies.

This information constitutes protectable trade secrets owned by DraftKings, pursuant to 18 U.S.C.



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§ 1839(3).

           132.   DraftKings relies on the above trade secrets in providing its gaming services in

interstate commerce—including in Arizona, Colorado, Connecticut, Illinois, Indiana, Iowa,

Louisiana, Maine, Massachusetts, Michigan, New Hampshire, New Jersey, New York, Oregon,

Pennsylvania, Tennessee, Virginia, Vermont, West Virginia, and Wyoming, as well as

internationally.

           133.   DraftKings’ trade secrets, including but not limited to lists of important business

partners including teams, leagues, casinos, athletes, celebrities, influencers, vendors, and corporate

officers and directors, and detailed information concerning strategies for pitching to prospective

partners, framework for developing promotional programs, deals and projects, contract terms, as

well as target markets, medias, and platforms—which are generated by a substantial investment

by DraftKings of money, time, and energy—derive independent economic value, actual or

potential, from not being generally known to, and not being readily ascertainable through proper

means by, another person or business who can obtain economic value from the disclosure or use

of that information.

           134.   DraftKings has taken reasonable measures to protect the confidentiality of its trade

secrets.     As described above, DraftKings requires employees to enter into confidentiality

agreements prohibiting the use or disclosure of DraftKings’ trade secrets.                Additionally,

DraftKings has robust policies in place that are also designed to protect DraftKings’ trade secrets.

Finally, DraftKings uses a host of technological safeguards to ensure that its trade secrets do not

fall into the hands of competitors.

           135.   DraftKings does not consent to the acquisition, disclosure or use of its trade secrets

by anyone other than authorized personnel using them within the scope of the contractual




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obligations of their employment with DraftKings. DraftKings did not consent to Hermalyn

acquiring, disclosing or using DraftKings trade secrets for any purpose whatsoever following his

termination of employment.

       136.    DraftKings disclosed and provided its trade secrets to Hermalyn in confidence,

while he was an employee of the company, pursuant to a duty to maintain the confidentiality and

secrecy of that information.

       137.    Hermalyn breached that confidence by improperly acquiring, disclosing and/or

using DraftKings trade secrets, including by accessing and downloading them from a non-

DraftKings device while inside the offices of Fanatics, and with the intent to benefit Fanatics.

       138.    Before resigning from DraftKings, Hermalyn knew that the documents he accessed

and downloaded contained highly valuable trade secrets based on his years of executive experience

working for DraftKings.

       139.    DraftKings disclosed to Hermalyn in the Confidentiality Agreement that

“[p]ursuant to 18 U.S.C. Section 1833(b), [Hermalyn] shall not be held criminally or civilly liable

under any Federal or State trade secret law for the disclosure of a trade secret that: (1) is made in

confidence to a Federal, State, or local government official, either directly or indirectly, or to any

attorney, and solely for the purpose of reporting or investigating a suspected violation of law; or

(2) is made in a complaint or other document filed in a lawsuit or other proceeding, if such filing

is made under seal.” Id. § 5.

       140.    Hermalyn knew and was aware of his duties to refrain from disclosing or using

DraftKings’ trade secrets.

       141.    DraftKings has suffered irreparable harm as a direct and proximate result of

Hermalyn’s misappropriation, and will continue to suffer irreparable harm if Hermalyn is not




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permanently enjoined from retaining, using, or disclosing DraftKings’ trade secrets.

          142.   DraftKings also seeks an award of actual damages in an amount to be proven at

trial under 18 U.S.C. § 1836(b)(3)(B).

          143.   Hermalyn’s misappropriation of DraftKings’ trade secrets was conducted through

improper means, willful, malicious, bad faith conduct, and theft, as demonstrated by his deception

regarding his involvement with Fanatics, entitling DraftKings to attorneys’ fees and exemplary

damages. 18 U.S.C. § 1836(3)(C)-(D).

COUNT V – Misappropriation of Trade Secrets in Violation of the Massachusetts Uniform
             Trade Secrets Act (MUTSA) (M.G.L. c. 93, §§ 42 to 42G)

          144.   DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          145.   Hermalyn misappropriated DraftKings’ trade secrets including but not limited to:

(i) the “(Master) SB 2024” spreadsheet containing all of DraftKings’ plans for entertaining its key

partners, including representatives of teams and leagues, as well as athletes, celebrities, influencers,

vendors, and corporate officers and directors, at the 2024 Super Bowl, the corresponding

DraftKings employees who maintain relationships with each business partner and would serve as

their point of contact at the Super Bowl, what events the key partners would be attending, as well

as the number of VIP customers who will also be attending those same events; (ii) the presentation

entitled “BD_Gaming101” reflecting DraftKings’ pitch to potential business partners on the value

proposition of partnering with DraftKings, including the profile of DraftKings’ customers and its

other business partnerships; (iii) the “VIP Founders Club” PowerPoint presentation describing a

proposed loyalty program for recruiting top-tier VIP players, identifying benefits to be provided

to VIP customers, explaining the metrics and analyses conducted to determine what customers

should be accorded VIP status, and providing a roadmap for designing and executing a gaming-



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industry VIP rewards program; and (iv) the “BD [Business Development] Team Tracker – Weekly

Report,” containing, among other things: (a) lists of short-term and long-term priority deals and

projects; (b) lists of then-ongoing contracts and their current status (i.e., executed, in the process

of being executed, or being negotiated through redline exchanges); (c) identification of target

markets, media, and platforms; and (d) internal questions and comments from DraftKings

employees and department representatives reflecting DraftKings’ confidential business strategies.

This information constitutes protectable trade secrets owned by DraftKings, pursuant to M.G.L. c.

93, §§ 42 to 42G.

           146.   DraftKings’ trade secrets, including but not limited to lists of important business

partners including teams, leagues, casinos, athletes, celebrities, influencers, vendors, and corporate

officers and directors, and detailed information concerning strategies for pitching to prospective

partners, framework for developing promotional programs, deals and projects, contract terms, as

well as target markets, medias, and platforms—which are generated by a substantial investment

by DraftKings of money, time, and energy—derive independent economic value, actual or

potential, from not being generally known to, and not being readily ascertainable through proper

means by, another person or business who can obtain economic value from the disclosure or use

of that information.

           147.   DraftKings has taken reasonable measures to protect the confidentiality of its trade

secrets.     As described above, DraftKings requires employees to enter into confidentiality

agreements prohibiting the use or disclosure of DraftKings’ trade secrets.              Additionally,

DraftKings has robust policies in place that are also designed to protect DraftKings’ trade secrets.

Finally, DraftKings uses a host of technological safeguards to ensure that its trade secrets do not

fall into the hands of competitors.




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       148.    DraftKings does not consent to the acquisition, disclosure or use of its trade secrets

by anyone other than authorized personnel using them within the scope of the contractual

obligations of their employment with DraftKings. DraftKings did not consent to Hermalyn

acquiring, disclosing or using DraftKings trade secrets for any purpose whatsoever following his

termination of employment.

       149.    DraftKings disclosed and provided its trade secrets to Hermalyn in confidence,

while he was an employee of the company, pursuant to a duty to maintain the confidentiality and

secrecy of that information.

       150.    Hermalyn breached that confidence by improperly acquiring, disclosing and/or

using DraftKings trade secrets, including by accessing and downloading them from a non-

DraftKings device while inside the offices of Fanatics, and with the intent to benefit Fanatics.

       151.    Before resigning from DraftKings, Hermalyn knew that the documents he accessed

and downloaded contained highly valuable trade secrets based on his years of executive experience

working for DraftKings.

       152.    Hermalyn knew and was aware of his duties to refrain from disclosing or using

DraftKings’ trade secrets.

       153.    DraftKings has suffered irreparable harm as a direct and proximate result of

Hermalyn’s misappropriation, and will continue to suffer irreparable harm if Hermalyn is not

permanently enjoined from retaining, using, or disclosing DraftKings’ trade secrets.

       154.    DraftKings also seeks an award of actual damages in an amount to be proven at

trial under M.G.L. c. 93, § 42B(a).

       155.    Hermalyn’s misappropriation of DraftKings’ trade secrets was conducted through

willful and malicious conduct, as demonstrated by his deception regarding his involvement with




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Fanatics, entitling DraftKings to attorneys’ fees and exemplary damages. M.G.L. c. 93, § 42B(b).

             COUNT VI – Misappropriation of Confidential Business Information
          156.   DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          157.   Hermalyn misappropriated DraftKings’ confidential business information by

accessing and downloading the documents described above for no legitimate purpose as he

prepared to depart DraftKings. These documents included confidential information.

          158.   DraftKings has taken reasonable measures to protect the confidentiality of its

confidential information. As described above, DraftKings requires employees to enter into

confidentiality agreements prohibiting the use or disclosure of DraftKings’ confidential

information. Additionally, DraftKings has robust policies in place that are also designed to protect

DraftKings’ confidential information. Finally, DraftKings uses a host of technological safeguards

to ensure that its confidential information does not fall into the hands of competitors.

          159.   DraftKings does not consent to the acquisition or use of its confidential information

by anyone other than authorized personnel using them within the scope of the contractual

obligations of their employment with DraftKings. DraftKings did not consent to Hermalyn

acquiring or using DraftKings confidential information for any purpose whatsoever following his

termination of employment.

          160.   DraftKings disclosed and provided its confidential information to Hermalyn in

confidence, while he was an employee of the company, pursuant to a duty to maintain the

confidentiality and secrecy of that information.

          161.   Hermalyn breached that confidence by accessing and downloading DraftKings

confidential information, including from a non-DraftKings device while inside the offices of

Fanatics, and with the intent to benefit Fanatics.


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          162.   DraftKings has suffered irreparable harm as the direct and proximate result of

Hermalyn’s misconduct, and will continue to suffer irreparable harm if Hermalyn is not

permanently enjoined from retaining, using, or disclosing DraftKings’ confidential information.

                            COUNT VII – Breach of Duty of Loyalty
          163.   DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          164.   Hermalyn was a key executive of DraftKings, occupying the position of Senior

Vice President of Business Development and Vice President of VIP Management.

          165.   In these roles, Hermalyn occupied positions of trust and confidence, and had access

to DraftKings’ valuable trade secrets and other confidential information.

          166.   Hermalyn owed DraftKings a duty of loyalty as its key employee and a senior

executive on the VIP team.

          167.   As described above, Hermalyn violated his duty of loyalty during his employment

with DraftKings by soliciting VIP team members on behalf of Fanatics, lying to DraftKings about

his intentions to remain employed with DraftKings, engaging in self-dealing by funneling a

DraftKings’ contract to restaurants owned by an entity with which, on information and belief, he

was affiliated without disclosing such affiliation, misusing corporate funds for his own personal

gain, and ultimately stealing DraftKings’ trade secrets and other confidential information to benefit

Fanatics.

          168.   Upon information and belief, DraftKings has suffered damages as a result of

Hermalyn’s breach of loyalty, including the competitive harm resulting from Fanatics’ exploitation

of its trade secrets and confidential information, the loss of a valuable member of the VIP team,

the enhanced retention packages paid to other members of the VIP team, and Hermalyn’s own

enhanced retention package worth millions of dollars, and thousands of dollars of DraftKings’


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funds directed by Hermalyn in a self-dealing transaction.

                                        COUNT VIII – Conversion
          169.     DraftKings repeats and realleges the foregoing paragraphs as if fully set forth

herein.

          170.     As described above, Hermalyn has no right of possession in DraftKings trade

secrets and confidential information at the time he downloaded materials at the offices of Fanatics,

and since his resignation as an employee of DraftKings. Hermalyn similarly has no right of

possession of some or all of the thousands of dollars of DraftKings’ funds directed by Hermalyn,

upon information and belief, in a self-dealing transaction.

          171.     Hermalyn intentionally and wrongfully exercised control or dominion over

DraftKings’ property, and conducted a scheme of wrongful acts with the intention to appropriate

the property and deprive DraftKings’ of its property.

          172.     DraftKings’ retained at the time of the conversion, and still retains, ownership in

the property.

          173.     As a direct and proximate result of Hermalyn’s conversion of DraftKings’ property,

DraftKings is entitled to compensatory and punitive damages, as Hermalyn’s acts were maliciously

taken in willful disregard of DraftKings’ rights.

                                         PRAYER FOR RELIEF

          WHEREFORE, DraftKings respectfully requests that the Court enter an order and

judgment against Hermalyn as follows:

          A)       For a temporary restraining order against Hermlayn, including but not limited to:

                  restraining and enjoining him from directly or indirectly providing any services to

                   Fanatics or its subsidiaries, affiliates, and joint ventures relating to: (i) the research,

                   design, development, marketing, sales, operations, maintenance and commercial


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       exploitation pertaining to the operation of, and providing products and services for,

       the operation of games of chance or skill or pari-mutuel or fixed odds games

       (including, but not limited to, lotteries, pari-mutuel betting, bingo, race tracks, jai

       alai, legalized bookmaking, off-track betting, casino games, racino, keno, and

       sports betting or any play for fun (non-wagering) versions of the foregoing) and

       any type of ancillary service or product related to or connected with the foregoing;

       or (ii) any other aspect of the Business of the Company for which he performed

       services or received Confidential Information (each as defined in the

       Noncompetition Covenant) at any time during the six (6) month period prior to

       February 1, 2024;

      restraining and enjoining him from directly or indirectly soliciting or transacting

       business, or attempting to solicit or transact business with, any of DraftKings’

       customers, clients, vendors or partners, or with any of DraftKings’ prospective

       customers, clients, vendors or partners about which Hermalyn learned Confidential

       Information (as defined in the Noncompetition Covenant) or which Hermalyn had

       some involvement or knowledge relating to: (i) the research, design, development,

       marketing, sales, operations, maintenance and commercial exploitation pertaining

       to the operation of, and providing products and services for, the operation of games

       of chance or skill or pari-mutuel or fixed odds games (including, but not limited to,

       lotteries, pari-mutuel betting, bingo, race tracks, jai alai, legalized bookmaking, off-

       track betting, casino games, racino, keno, and sports betting or any play for fun

       (non-wagering) versions of the foregoing) and any type of ancillary service or

       product related to or connected with the foregoing; or (ii) any aspect of the Business




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                  of the Company (as defined in the Noncompetition Covenant);

                 restraining and enjoining Hermalyn from directly or indirectly: (a) soliciting, in

                  person or through supervision or control of others, an employee, advisor, consultant

                  or contractor of DraftKings for the purpose of inducing or encouraging the

                  employee, advisor, consultant or contractor to leave his or her relationship with

                  DraftKings or to change an existing business relationship to the detriment

                  DraftKings; (b) hiring away an employee, advisor, consultant or contractor of

                  DraftKings; or (c) helping another person or entity hire away a DraftKings

                  employee, advisor, consultant or contractor;

                 restraining and enjoining Hermalyn from using or disclosing any of DraftKings’

                  Confidential Information (as defined in the Confidentiality Agreement);

                 directing Hermalyn, within three (3) days of the entry of such order, to: (a) return

                  to DraftKings all DraftKings’ Confidential Information such that no Confidential

                  Information remains in his possession, custody, or control; (b) identify to

                  DraftKings in writing any disclosure of DraftKings’ Confidential Information (as

                  defined in the Confidentiality Agreement) he made to any third party apart from

                  any such disclosures he made in his ordinary course of business as an employee of

                  DraftKings; and (c) certify to DraftKings his compliance with (a) and (b) above

                  under the pains and penalties of perjury.

       B)         Awarding DraftKings preliminary and permanent injunctive relief, including but

not limited to:

                 restraining and enjoining him from directly or indirectly providing any services to

                  Fanatics or its subsidiaries, affiliates, and joint ventures relating to: (i) the research,



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       design, development, marketing, sales, operations, maintenance and commercial

       exploitation pertaining to the operation of, and providing products and services for,

       the operation of games of chance or skill or pari-mutuel or fixed odds games

       (including, but not limited to, lotteries, pari-mutuel betting, bingo, race tracks, jai

       alai, legalized bookmaking, off-track betting, casino games, racino, keno, and

       sports betting or any play for fun (non-wagering) versions of the foregoing) and

       any type of ancillary service or product related to or connected with the foregoing;

       or (ii) any other aspect of the Business of the Company for which he performed

       services or received Confidential Information (each as defined in the

       Noncompetition Covenant) at any time during the six (6) month period prior to

       February 1, 2024;

      restraining and enjoining him from directly or indirectly soliciting or transacting

       business, or attempting to solicit or transact business with, any of DraftKings’

       customers, clients, vendors or partners, or with any of DraftKings’ prospective

       customers, clients, vendors or partners about which Hermalyn learned Confidential

       Information (as defined in the Noncompetition Covenant) or which Hermalyn had

       some involvement or knowledge relating to: (i) the research, design, development,

       marketing, sales, operations, maintenance and commercial exploitation pertaining

       to the operation of, and providing products and services for, the operation of games

       of chance or skill or pari-mutuel or fixed odds games (including, but not limited to,

       lotteries, pari-mutuel betting, bingo, race tracks, jai alai, legalized bookmaking, off-

       track betting, casino games, racino, keno, and sports betting or any play for fun

       (non-wagering) versions of the foregoing) and any type of ancillary service or




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                   product related to or connected with the foregoing; or (ii) any aspect of the Business

                   of the Company (as defined in the Noncompetition Covenant);

                  restraining and enjoining Hermalyn from directly or indirectly: (a) soliciting, in

                   person or through supervision or control of others, an employee, advisor, consultant

                   or contractor of DraftKings for the purpose of inducing or encouraging the

                   employee, advisor, consultant or contractor to leave his or her relationship with

                   DraftKings or to change an existing business relationship to the detriment

                   DraftKings; (b) hiring away an employee, advisor, consultant or contractor of

                   DraftKings; or (c) helping another person or entity hire away a DraftKings

                   employee, advisor, consultant or contractor;

                  restraining and enjoining Hermalyn from using or disclosing any of DraftKings’

                   Confidential Information (as defined in the Confidentiality Agreement);

          C)       Restitution of any vested equity that Hermalyn received in exchange for any

noncompetition covenants contained in his equity agreements;

          D)       Awarding DraftKings actual and compensatory damages in an amount to be

determined at trial, including costs, fees, and pre- and post-judgment interest;

          E)       Awarding DraftKings its costs, expenses, and reasonable attorneys’ fees;

          F)       Awarding DraftKings exemplary, treble, and/or punitive damages;

          G)       Awarding DraftKings recoupment and/or disgorgement of any equity grants and

other compensation paid to Hermalyn during his period of disloyalty; and

          H)       Awarding DraftKings such further and other relief as the Court deems just and

proper.




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                                JURY TRIAL DEMAND

     174.    DraftKings hereby demands a jury trial.

Dated: February 5, 2024                    Respectfully submitted,

                                           /s/ Andrew S. Dulberg
                                           William F. Lee (BBO #291960)
                                           Andrew S. Dulberg (BBO #675405)
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                                        VERIFICATION
       I, Gregory Karamitis, Chief Revenue Officer, verify that I have read the allegations

contained in this Verified Complaint; that, other than allegations made upon information and belief,

those allegations are true and correct based on my knowledge and belief which, in some instances,

is based on information that was provided to me from DraftKings’ personnel and from DraftKings

records.



SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 5th DAY OF
FEBRUARY 2024


                                                     ___________________________
                                                     Gregory Karamitis




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